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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                              NORTHERN DISTRICT OF CALIFORNIA

                                   6                                            SAN JOSE DIVISION

                                   7

                                   8     MUHAMMAD KHAN,                                      Case No. 18-cv-07490-BLF
                                   9                     Plaintiff,
                                                                                             ORDER GRANTING PLAINTIFF’S
                                  10              v.                                         MOTION TO VACATE PLRA FEES
                                  11     SAP LABS, LLC,                                      [Re: ECF 206]
                                  12                     Defendant.
Northern District of California
 United States District Court




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                                  15          Plaintiff has filed a Motion to Vacate PLRA Fees in this Matter, stating that he never filed

                                  16   an application to proceed in forma pauperis (“IFP”) in this case but that funds for the federal filing

                                  17   fee are being deducted from his prison trust account. See Pl.’s Motion to Vacate PLRA Fees.

                                  18   Plaintiff seeks relief from the Court.

                                  19          Plaintiff did file an IFP application in this case on February 13, 2019, which this Court

                                  20   granted by order dated February 27, 2019 (“IFP Order”). See Pl.’s IFP Applic., ECF 25; IFP

                                  21   Order, ECF 27. The Court’s IFP Order stated that Plaintiff would be required to pay the federal

                                  22   filing fee in this case pursuant to the Prison Litigation Reform Act (“PLRA”), 28 U.S.C. § 1915,

                                  23   and directed that funds be deducted from Plaintiff’s prison trust account for that purpose. The

                                  24   Court’s IFP Order was in error, because Plaintiff did not file this case in federal district court.

                                  25   Plaintiff filed the case in state court, after which Defendants removed it to federal district court.

                                  26   See Defs.’ Notice of Removal, ECF 1. Because Defendants removed the case, they were

                                  27   responsible for paying the federal filing fee. See 28 U.S.C. § 1914(a); Harris v. Mangum, 863

                                  28   F.3d 1133, 1141 (9th Cir. 2017) (“Defendants were the parties who brought this case to federal
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                                   1   court when they removed it from state court, and it was their responsibility to pay the federal filing

                                   2   fee[.]”). The docket reflects that Defendants did pay the federal filing fee when they removed the

                                   3   case. See Docket Entry, ECF 1.

                                   4          Accordingly, Plaintiff’s Motion to Vacate PLRA Fees in this Matter is GRANTED.

                                   5                                                 ORDER

                                   6          (1)     The Court hereby VACATES the portion of its IFP Order (ECF 27) stating that

                                   7                  Plaintiff must pay the federal filing fee and authorizing deduction of funds from his

                                   8                  prison trust account for that purpose.

                                   9          (2)     Any funds deducted from Plaintiff’s prison trust account to pay the federal filing

                                  10                  fee in this case SHALL be refunded.

                                  11          (3)     This order has no effect on any obligation Plaintiff may have to pay federal filing

                                  12                  fees in any other case.
Northern District of California
 United States District Court




                                  13          (4)     This order terminates ECF 206.

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                                  15   Dated: June 24, 2024                             ______________________________________
                                                                                        BETH LABSON FREEMAN
                                  16                                                    United States District Judge
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